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       Dear Judge Kaplan, my name is Carmine Simpson and I am currently
incarcerated at the Metropolitan Detention Center in Brooklyn, New York.
Before I was arrested in January 2021, I had worked as a Police Officer for the
City of New York for about three years. Between my time patrolling the streets of
Brooklyn and my time here at MDC, I have interacted with thousands of known
criminals or persons suspected of committing serious crimes and I can
confidently say that I have never met anyone like Sam. In this situation,
incarceration would serve no benefit and if anything, would just do more
damage.


       I have had the honor to have gotten to know Sam Bankman-Fried over the
past six months. Sam has spent a large portion of his young life dedicated to
trying to make the world a better place. When he first told me that the main
reason he worked so hard at becoming a successful and wealthy person was to
donate all his money away to noble causes and those in needs, quite frankly, I
thought that he was blowing smoke up my ass. Though very quickly, I came to
the conclusion that Sam is the most self-less person that I have ever had the
privilege to meet.

         You would think that after losing billions of dollars, watching his
reputation and friendships crumble, being indicted and sent to the worst federal
jail in the country, that Sam would begin to put himself first over others but this
couldn’t be furthest from the truth. Even in jail, surrounded by some of the
lowest scum in our society, Sam will only see the best of everyone. Sam has had
his share of negative interactions with fellow inmates but he still treats everyone
here with the upmost respect. Whenever anyone needs anything, whether its
inmate or staff, Sam is always the first one approached and not because he is
one to be easily intimidated.

      One of the biggest examples of Sam’s character is his dedication to
remaining vegan. Sam told me that he originally became vegan over ten years
ago because he was unwilling to participate in the mistreatment and slaughter
of animals. It is difficult for someone to be vegan when they are not incarcerated
and their diet options are not limited. Even though twelve out of every fourteen
of Sam’s weekly meals are just undercooked rice, a scoop of disgusting-looking
beans and week-old brown lettuce, Sam has stayed true to his commitment to
not participate in the maltreatment of animals.




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       I have had countless heart-to-heart conversations with Sam and he has
constantly reiterated to me his plans for the future. Even after this hole in his life,
Sam’s goal is to still make the world a better place for others. This in itself is
shocking because most people’s reaction would be to give up on that dream.
There is zero doubt in my mind that the sooner Sam is released; he will work and
strive to improve the world.

       Sam’s incarceration has been extremely difficult and I believe that Your
Honor should take this into account. In any setting, Sam is the least physically
intimidating person and this is especially noticeable inside a jail. This has and
will lead to him being frequently targeted for hazing, harassment, and assault
more so than the average inmate. Sam’s case has also lead to extensive media
coverage which has lead to and will lead to even more negative results. Sam’s
estimated fortune is higher than any inmate can count to which lead to multiple
extortion attempts.

      As you know, Sam has been incarcerated here since August and I think
that Your Honor should not take this lightly. MDC Brooklyn is notorious for being
understaffed and poorly managed. The conditions here are cruel and inhumane.
I would not wish residency here upon anyone, even my greatest enemy.
Between the constant lockdowns, lack of basic items such as toothpaste,
medicine or pillows and going days or weeks without the ability to contact
family, friends and legal representation. Spending six months here is easily
comparable to spending 2 years at any other federal holding center.

        MDC Brooklyn severely impacted Sam’s ability to properly prepare for his
trial. Every morning, I would watch Sam approach every officer and staff
member that entered our unit and ask them if he could have access to his laptop
to trial prep and constantly be rejected or in most cases, ignored. According to
the media and confirmed by him, Sam had over a million pages of Discovery
material. Even if someone had access to their Discovery material for eight hours
a day, it would take years to go through it each line by line, Sam was lucky to
review his for an hour a week.

       Because of the high-profile nature of Sam’s case, he was placed into a
protective custody unit. This is where I first met Sam. Before this, I had never
even heard of FTX, its collapse or Sam’s arrest. Excluding Sam and one other
person, this unit is filled with inmates that are currently co-operating with the
government. Not only has Sam had to deal with people trying to extort or harass
him, he’s also had to worry that one of these ‘jailhouse snitches’ would lie either
to the Government, the Media or both regarding him.




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       Even though Sam disagrees with the Governments perspective of events
that does not mean that he has not shown remorse or empathy for those that lost
money. My bunk and locker are directly adjacent to Sam’s, so for the past sixth
months Sam and I have grown extremely close. Over this time, he has shown an
immense amount of remorse and regret for whatever mistakes he made that
potentially led to the collapse of FTX. I am not use to this; every other person
that I have interacted with here places the blame on someone else.

      I predict that you will not take my letter seriously since I am also
incarcerated and currently facing criminal charges but I want to inform the
Court that I have always had a strong admiration and respect for our Criminal
Justice system. In college I had majored in Criminology and afterwards, I was
employed by the Department of Homeland Security and then the NYPD. I have
helped put hundreds of people in prison and have no-doubtedly made the streets
a safer place so I say this from experience that Sam does not belong here. The
world will be much better off if Sam Bankman-Fried was out of jail, donating his
hard-earned money and contributing to society.

      Thank you for your time.




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